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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION


  E.K. and S.K., minors, by and through their
  parent and next friend LINDSEY KEELEY;
  O.H., S.H., and H.H., minors, by and through          Case No. 1:25-cv-00637-PTG-IDD
  their parent and next friend JESSICA
  HENNINGER; E.G., a minor, by and through              Hon. Patricia Tolliver Giles
  his parent and next friend MEGAN
  JEBELES; E.Y. and C.Y., minors, by and
  through their parent and next friend ANNA
  YOUNG; L.K., L.K., and L.K., minors, by
  and through their parent and next friend
  ANNA KENKEL; and M.T., a minor, by and
  through her parent and next friend NATALIE
  TOLLEY,

                             Plaintiffs,

  v.

  DEPARTMENT OF DEFENSE
  EDUCATION ACTIVITY; DR. BETH
  SCHIAVINO-NARVAEZ, in her official
  capacity as Director of the Department of
  Defense Education Activity; and PETER
  BRIAN HEGSETH, in his official capacity as
  Secretary of Defense,

                             Defendants.


       INDEX OF PLAINTIFF DECLARATIONS AND EXHIBITS IN SUPPORT OF
            PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
 Decl. of Lindsey Keeley in Supp. of Pls.’ Mot. for Prelim. Inj.

       Ex. A, DoDEA FOIA Response: Memorandum from DoDEA Acting Chief Academic
             Officer to DoDEA Administrators and School Level Employees (Feb. 5, 2025).

       Ex. B, Letter from Beth Schiavino-Narvaez, DoDEA Director, to DoDEA Sponsors,
             Parents, and Guardians (Feb. 10, 2025).

       Ex. C, Minutes for the Quantico School Board Meeting of February 20, 2025.
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       Ex. D, E-mail from Taylor York, LLM, CCEP, Civil Rights Analyst and Program
             Manager, Civil Rights Program and Compliance Branch, U.S. Department of
             Defense Education Activity, to Paul Keeley, (Feb. 10, 2025, 8:56 PM – Mar. 4,
             2025, 11:19 AM).

       Ex. E, Email from DoDEA FOIA Office to Paul Keeley (Apr. 18, 2025).

 Decl. of Jessica Henninger in Supp. of Pls.’ Mot. for Prelim. Inj.

 Decl. of Anna Young in Supp. of Pls.’ Mot. for Prelim. Inj.

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       Ex. A, List of Books Removed on Gender Ideology

       Ex. B, Email from DoDEA FOIA/PA Requests to Anna Kenkel (Mar. 6, 2025, 3:54 AM).

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       Ex. A, Letter from Michelle Howard-Brahaney, DoDEA Europe Director for Student
       Excellence, to Parents and Students (Mar. 7, 2025).

       INDEX OF EXHIBITS TO DECLARATION OF MATTHEW CALLAHAN
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 Ex. 1, Department of Defense Education Activity, 2024-2025 DoDEA By the Numbers Fact
        Sheet (Nov. 2024), https://dodea.widen.net/s/hwlwrrdfc5/dodea-by-the-numbers-placemat-
        sy-22-23.

 Ex. 2, Department of Defense Education Activity, School Awards Page,
        https://www.dodea.edu/education/school-awards.

 Ex. 3, Department of Defense Education Activity, DoD Schools Ranked Best in the United States
        Again on Nation’s Report Card (Jan. 29, 2025), https://www.dodea.edu/news/press-
        releases/dod-schools-ranked-best-united-states-again-nations-report-card.

 Ex. 4, Michael O’Day, DoDEA Students Lead Nation in NAEP Performance, Again Showcasing
        the Strength of 21st Century Education Model, U.S. Army (Feb. 3, 2025),
        https://www.army.mil/article/282980/dodea_students_lead_nation_in_naep_performance_
        again_showcasing_the_strength_of_21st_century_education_model.

 Ex. 5, Executive Order No. 14168, 90 Fed. Reg. 8615, Defending Women From Gender Ideology
        Extremism and Restoring Biological Truth to the Federal Government (Jan. 20, 2025),
        https://www.whitehouse.gov/presidential-actions/2025/01/defending-women-from-
        gender-ideology-extremism-and-restoring-biological-truth-to-the-federal-government/.
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 Ex. 6, Executive Order No. 14185, 90 Fed. Reg. 8763, Restoring America’s Fighting Force (Jan.
        27, 2025), https://www.whitehouse.gov/presidential-actions/2025/01/restoring-americas-
        fighting-force/.

 Ex. 7, Executive Order No. 14190, 90 Fed. Reg. 8853, Ending Radical Indoctrination in K-12
        Schooling (Jan. 29, 2025), https://www.whitehouse.gov/presidential-
        actions/2025/01/ending-radical-indoctrination-in-k-12-schooling/.

 Ex. 8, The White House, Remarks by President Trump in Joint Address to Congress (Mar. 6,
         2025), https://www.whitehouse.gov/remarks/2025/03/remarks-by-president-trump-in-
         joint-address-to-congress/.

 Ex. 9, Email from Shawn Knudsen, Principal of DoDEA Wiesbaden Middle School in
        Wiesbaden, Germany, to Wiesbaden MS All Staff (Feb. 7, 2025).
 Ex. 10, Lori Pickel, Acting Chief Academic Officer for DoDEA, Memorandum: Administrative
       Operational Compliance Review of Books Related to Gender and/or Discriminatory
       Equity Ideology Topics (Feb. 5, 2025).

 Ex. 11, Letter from Charles Kelker, DoDEA Europe Chief of Staff, to DoDEA Europe
       Administrators and School-level Employees (Feb. 7, 2025).

 Ex. 12, Letter from Beth Schiavino-Narvaez, DoDEA Director, to DoDEA Sponsors, Parents,
       and Guardians (Feb. 10, 2025).

 Ex. 13, DoDEA, Training: Information Centers and Executive Orders,
       https://rise.articulate.com/share/Co7fkmnPI6eyrWDe00At1Votq7bwAhcH#/.

 Ex. 14, List of books currently removed from school libraries and curricula.

 Ex. 15, Letter from Michelle Howard-Brahaney, DoDEA Europe Director for Student
       Excellence (Mar. 7, 2025).
 Ex. 16, Peter Hegseth, Secretary of Defense, Identity Months Dead at DoD (Jan. 31, 2025),
       https://www.defense.gov/News/Releases/Release/article/4050331/identity-months-dead-
       at-dod/.

 Ex. 17, Taylor York, DoDEA Civil Rights Analyst and Program Manager, Guidance on Cultural
       Observances and Compliance with SECDEF Directive (Feb. 14, 2025).
 Ex. 18, Peter Hegseth, Secretary of Defense, Memorandum: Restoring America’s Fighting Force
       (Jan. 29, 2025).

 Ex. 19, Lori Pickel, Acting Chief Academic Officer for DoDEA, Memorandum: Administrative
       Operational Compliance Review of DoDEA Adopted Instructional Resources Related to
       Gender and/or Discriminatory Equity Ideology Topics (Feb. 5, 2025).
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 Ex. 20, List of books currently quarantined from DoDEA school libraries.
